                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                            CHAPTER 13

 RONALD JAMES SALVI,                               CASE NO.: 5:24-bk-01084
 a/k/a RONALD J. SALVI,
 a/k/a RONALD SALVI,                                    ORIGINAL PLAN
                                                    1st AMENDED PLAN (Indicate 1st , 2nd , 3rd ,
 Debtor                                                   etc.)
                                                        Number of Motions to Avoid Liens
                                                        Number of Motions to Value Collateral


                                       CHAPTER 13 PLAN

                                              NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if neither
box is checked, the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in § 9,           Included       Not
   which are not included in the standard plan as approved by                         Included
   the U.S. Bankruptcy Court for the Middle District of
   Pennsylvania.
 2 The plan contains a limit on the amount of a secured claim,         Included       Not
   set out in § 2.E, which may result in a partial payment or no                      Included
   payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,                   Included       Not
   nonpurchase-money security interest, set out in § 2.G.                             Included

                             YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely
written objection. This plan may be confirmed and become binding on you without further notice or
hearing unless a written objection is filed before the deadline stated on the Notice issued in
connection with the filing of the plan.

1. PLAN FUNDING AND LENGTH OF PLAN.

   A. Plan Payments From Future Income

        1. To date, the Debtor paid $N/A (enter $0 if no payments have been made to the Trustee to
date). Debtor shall pay to the Trustee for the remaining term of the plan the following payments. If
applicable, in addition to monthly plan payments, Debtor shall make conduit payments through the
Trustee as set forth below. The total base plan is $10,660.00, plus other payments and property
stated in § 1B below:




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    Start              End               Plan            Estimated        Total             Total
   mm/yyyy            mm/yyyy          Payment            Conduit        Monthly          Payment
                                                         Payment         Payment         Over Plan
                                                                                            Tier
 05/2024            09/2027         $260.00                N/A         $260.00          $10,660.00


                                                                              Total $10,660.00
                                                                          Payments:

        2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
Trustee that a different payment is due, the Trustee shall notify the Debtor and any attorney for the
Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-
petition mortgage payments that come due before the initiation of conduit mortgage payments.

       3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform
   to the terms of the plan.

         4. CHECK ONE: (X) Debtor is at or under median income. If this line is checked, the rest
                       of § 1.A.4 need not be completed or reproduced.

                              ( ) Debtor is over median income. Debtor estimates that a minimum of
                              $_______ must be paid to allowed unsecured creditors in order to
                              comply with the Means Test.


   B. Additional Plan Funding From Liquidation of Assets/Other

         1. The Debtor estimates that the liquidation value of this estate is $140.00. (Liquidation
            value is calculated as the value of all non­exempt assets after the deduction of valid liens
            and encumbrances and before the deduction of Trustee fees and priority claims.)

         Check one of the following two lines.

          X      No assets will be liquidated. If this line is checked, the rest of § 1.B need not be
                 completed or reproduced.


2. SECURED CLAIMS.

   A. Pre-Confirmation Distributions. Check one.

     X        None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.




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   B. Mortgages (Including Claims Secured by Debtor’s Principal Residence) and Other
      Direct Payments by Debtor. Check one.

           None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

    X      Payments will be made by the Debtor directly to the creditor according to the original
           contract terms, and without modification of those terms unless otherwise agreed to by
           the contracting parties. All liens survive the plan if not avoided or paid in full under the
           plan.

        Name of Creditor                    Description of Collateral                    Last Four
                                                                                          Digits of
                                                                                          Account
                                                                                          Number
 Nationstar dba Mr. Cooper         1st mortgage on 2119 Arnold Drive,                      0352
                                   Effort, PA 18330
 Westlake Financial Services       Auto loan on 2013 Ford Explorer                         0472

 Westlake Financial Services       Auto loan on 2013 Dodge Avenger                         1520

 Kia Finance America               Auto loan on 2023 Kia Forte                             3972


   C. Arrears, including, but not limited to, claims secured by Debtor’s principal residence.
      Check one.

           None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

    X      The Trustee shall distribute to each creditor set forth below the amount of arrearages in
           the allowed proof of claim. If post-petition arrears are not itemized in an allowed claim,
           they shall be paid in the amount stated below. Unless otherwise ordered, if relief from
           the automatic stay is granted as to any collateral listed in this section, all payments to the
           creditor as to that collateral shall cease, and the claim will no longer be provided for
           under § 1322(b)(5) of the Bankruptcy Code:

   Name of Creditor              Description of           Estimated      Estimated Estimated
                                  Collateral             Pre-petition       Post-    Total to be
                                                          Arrears to       petition    paid in
                                                          be Cured       Arrears to     plan
                                                                          be Cured
 Nationstar dba Mr.         1st mortgage on 2119        $3,081.86        $1,000.00 – $4,081.86
 Cooper                     Arnold Drive, Effort,                        post-petition
                            PA 18330                                     attorney fees
 West Lake Financial        Auto loan on 2013           $ 540.20             N/A          $ 540.20
 Services                   Ford Explorer



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   D. Other secured claims (conduit payments, claims for which a § 506 valuation is not
      applicable, etc.)

    X      None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.


   E. Secured claims for which a § 506 valuation is applicable. Check one.

    X      None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.


   F. Surrender of Collateral. Check one.

    X      None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.


   G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check
      one.

    X      None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.


3. PRIORITY CLAIMS.

   A. Administrative Claims

        1. Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed by
           the United States Trustee.

        2. Attorney’s fees. Complete only one of the following options:

           a. In addition to the retainer of $0.00 already paid by the Debtor, the amount of
              $4,500.00 in the plan. This represents the unpaid balance of the presumptively
              reasonable fee specified in L.B.R. 2016-2(c); or

           b. $___________ per hour, with the hourly rate to be adjusted in accordance with the
              terms of the written fee agreement between the Debtor and the attorney. Payment of
              such lodestar compensation shall require a separate fee application with the
              compensation approved by the Court pursuant to L.B.R. 2016-2(b).

        3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                  Check one of the following two lines.

             X     None. If “None” is checked, the rest of § 3.A.3 need not be completed or
                   reproduced.



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   B. Priority Claims (including certain Domestic Support Obligations).

         Allowed unsecured claims, entitled to priority under § 1322(a) will be paid in full unless
         modified under § 9.

                  Name of Creditor                             Estimated Total Payment


   C. Domestic Support Obligations assigned to or owed to a governmental unit under 11
      U.S.C. §507(a)(1)(B). Check one of the following two lines.

          X      None. If “None” is checked, the rest of § 3.C need not be completed or reproduced.


4. UNSECURED CLAIMS

   A. Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of the
      following two lines.

          X      None. If “None” is checked, the rest of § 4.A need not be completed or reproduced.

   B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds
      remaining after payment of other classes.


5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following
   two lines.

    X         None. If “None” is checked, the rest of § 5 need not be completed or reproduced.


6. VESTING OF PROPERTY OF THE ESTATE.

   Property of the estate will vest in the Debtor upon

   Check the applicable line:

          plan confirmation.
          entry of discharge.
    X     closing of case:


7. DISCHARGE: (Check one)

   (X)        The debtor will seek a discharge pursuant to § 1328(a).
   ( )        The debtor is not eligible for a discharge because the debtor has previously received a
              discharge described in § 1328(f).

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8. ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
  Level 1 Adequate protection payments                           $ -0-
  Level 2 Debtor’s attorney’s fees.                              $ 4,500.00
  Level 3 Domestic Support Obligations                           $ -0-
  Level 4 Priority claims, pro rata                              $ -0-
  Level 5 Secured claims, pro rata                               $ 4,622.06
  Level 6 Specially classified unsecured claims                  $ -0-
  Level 7 General unsecured claims                               $   570.04
  Level 8 Untimely filed unsecured claims to which the $ -0-
             debtor(s) has/have not objected.
             Subtotal                                                            $ 9,692.10
             Trustee Commission                                  $   967.90
             Total                                                               $ 10,660.00
If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the
Trustee using the following as a guide:

Level 1: Adequate protection payments.
Level 2: Debtor’s attorney’s fees.
Level 3: Domestic Support Obligations.
Level 4: Priority claims, pro rata.
Level 5: Secured claims, pro rata.
Level 6: Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.
Level 8: Untimely filed general unsecured claims to which the Debtor has not objected.

9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)


Dated: July 31, 2024                        /s/ Vincent Rubino, Esq.
                                            VINCENT RUBINO, ESQ., Attorney for Debtor


                                            /s/ Ronald James Salvi
                                            RONALD JAMES SALVI, Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in § 9.
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